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    14
                               UNITED STATES DISTRICT COURT
    15                        CENTRAL DISTRICT OF CALIFORNIA
    16    ALMONT AMBULATORY SURGERY                     Case No 2:14-cv-03053-MWF(AFMx)
    17    CENTER, LLC, et al.,
                                                        STATUS REPORT REGARDING
    18                      Plaintiffs,                 STAY
    19    v.
                                                        Honorable Michael Fitzgerald
    20    UNITEDHEALTH GROUP
          INCORPORATED, et al.,
    21                                          Discovery Cut-off: Sept. 14, 2018
                         Defendants.            Pretrial Conference: Jan. 7, 2019
    22                                          Trial Date: Jan. 29, 2019
          _____________________________________
    23    UNITED HEALTHCARE SERVICES, INC.,
          et al.,
    24                      Counterclaim Plaintiffs,
    25    v.

    26    ALMONT AMBULATORY SURGERY
          CENTER, LLC, et al.,
    27                      Counterclaim Defendants.
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                                                                    STATUS REPORT RE: STAY
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      1           Counterclaim Plaintiffs (“United”) and Counterclaim Defendants file this
      2   joint status report as required by the Court’s July 25, 2018 Order staying this
      3   litigation “pending completion of the trial or other resolution of related criminal
      4   charges in United States v. Omidi, et al., Case No. 17-cr-661 . . . .” Dkt. 940.
      5           The related criminal trial began on September 21, 2021, and it continues
      6   through the date of this report. United States v. Omidi, Case No. 17-cr-661, Dkt.
      7   1472.
      8           In compliance with this Court’s Order, the parties will continue to file status
      9   reports every ninety days or upon completion of the related criminal action.
    10
    11    Dated: November 8, 2021
    12
    13    By: /s/ Michael Rowe                        By: /s/ William Welden
    14    Michelle S. Grant                                  William Welden (SBN 117056)
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          Inc. United Healthcare Insurance
    19    Company, and OptumInsight, Inc.
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                                                                          STATUS REPORT RE: STAY
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      1                                    CERTIFICATION
      2         Under Local Rule 5-4.3.4(a)(2)(i), I certify that all signatories on whose
      3   behalf this filing is submitted have authorized its filing.
      4
      5         Dated: November 8, 2021                      /s/ Michael Rowe
      6                                                      Michael Rowe

      7                                                      Counsel for United Healthcare
      8                                                      Services, Inc. United Healthcare
                                                             Insurance Company, and
      9                                                      OptumInsight, Inc.
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                                                                             STATUS REPORT RE: STAY
